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 1   Terri H. Didion, Assistant United States Trustee
     State Bar # CA 133491
 2
     UNITED STATES DEPARTMENT OF JUSTICE
 3   Office of the United States Trustee
     300 Las Vegas Boulevard So., Suite 4300
 4   Las Vegas, Nevada 89101
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 5
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 6   E-mail: terri.didion@usdoj.gov

 7   Attorneys for TRACY HOPE DAVIS
     United States Trustee for Region 17
 8
                                UNITED STATES BANKRUPTCY COURT
 9                                     DISTRICT OF NEVADA
                                       LAS VEGAS DIVISION
10
11    In re                                           )   Case No. 21-10690-nmc
                                                      )
12            Gata III, LLC,                          )   Chapter 11
                                                      )
13                                        Debtor.     )
                                                      )
14                                                    )
                                                      )
15                                                    )

16                   NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE
17            Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following
18
     qualified individual as Subchapter V trustee in the above-captioned case:
19
                                  Brian Shapiro
20                                510 S. 8th Street
                                  Las Vegas, NV 89101
21
                                  Phone: (702) 386-8600
22                                Email: brian@trusteeshapiro.com

23
     Dated: February 18, 2021                        TRACY HOPE DAVIS
24                                                   UNITED STATES TRUSTEE
25
26                                                   /s/ Terri H. Didion
                                                     Assistant United States Trustee
27
28



     Notice of Appointment of Subchapter V Trustee
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